 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 1 of 35 Page ID #:1




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16
17
                       UNITED STATES DISTRICT COURT
18                FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
     FLOWER SISTERS LLC d/b/a                       Case No.:
20   KIDSPARK, individually and on
21   behalf of all others similarly situated,
                                                    CLASS ACTION COMPLAINT
22                Plaintiff,
23                                                  DEMAND FOR JURY TRIAL
           v.
24
25   GREAT AMERICAN INSURANCE
     COMPANY d/b/a GREAT
26   AMERICAN INSURANCE GROUP,
27
                  Defendant.
28
                                  CLASS ACTION COMPLAINT
                                                1
 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 2 of 35 Page ID #:2




 1
 2         Plaintiff Flower Sisters LLC d/b/a KidsPark (“Plaintiff” or “KidsPark”)

 3   brings this case on behalf of itself and all others similarly situated, against
 4
     Defendant Great American Insurance Company d/b/a Great American Insurance
 5
 6   Group (“Defendant”), and alleges as follows:

 7                             NATURE OF THE ACTION
 8
           1.     KidsPark is a part-time and full-time childcare and preschool center.
 9
     KidsPark takes pride in providing a safe place for children to play and learn.
10
11         2.     Like many businesses, including childcare and preschool centers in
12
     California, KidsPark was forced to significantly curtail its services due to the
13
     COVID-19 Pandemic (also known as the “Coronavirus” or “SARS-CoV-2”), the
14
15   executive orders issued by the Governor of California as described below.
16
           3.     KidsPark sought to protect itself – and reasonably believed that it had
17
18   protected itself – in the event that its operations were suspended or reduced for

19   reasons outside of its control beyond just damage to the physical premises (such
20
     as fire), by purchasing an “all-risk” policy through Defendant (the “Policy”). See
21
22   Exhibit A. An “all-risk” property policy provides broad coverage for losses

23   resulting from any cause unless expressly excluded.
24
           4.     Among other coverages, the Policy specifically includes coverage for
25
26   Business Income and Extra Expense for twelve (12) months of actual loss

27   sustained. The policy also provides coverage for action of Civil Authority for
28
                                 CLASS ACTION COMPLAINT
                                              2
 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 3 of 35 Page ID #:3



     twenty-one (21) days, and for sixty (60) days of Extended Business Income
 1
 2   coverage. The Policy also provides Communicable Disease coverage.
 3
           5.     The Business Income, Extra Expense, Extended Business Income,
 4
     Civil Authority, and Communicable Disease coverages purchased by Plaintiff are
 5
 6   not subject to any relevant exclusion for losses caused by pandemics like COVID-
 7
     19. Here, the purported virus exclusion in the Policy does not apply because a
 8
     significant legal proximate cause to Plaintiff’s, and other Class Members’ losses,
 9
10   was the civil authority orders issued by the State of California (“California Civil
11
     Authority Orders”), and similar civil authority orders issued to prevent the spread
12
     of COVID-19. But even to the extent a virus exclusion would apply, Defendant
13
14   has rendered this exclusion inapplicable by expressly providing for additional
15
     coverage for Communicable Disease Events.
16
17         6.     Notwithstanding these coverages, when Plaintiff suffered an actual

18   loss of Business Income and incurred Extra Expense as a result of a covered cause
19
     of loss, Defendant wrongfully – and in contravention of the policy – denied
20
21   Plaintiff’s insurance claim. See Exhibit B.

22         7.     Plaintiff is not alone. Defendant has systematically refused to pay all
23
     its insureds under their Business Income, Extra Expense, Extended Business
24
25   Income, Civil Authority, and Communicable Disease coverages for losses

26   suffered due to COVID-19 (and related civil authority orders), regardless of
27
     whether the implicated insurance policy has an applicable pandemic exclusion or
28
                                 CLASS ACTION COMPLAINT
                                              3
 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 4 of 35 Page ID #:4



     not, and regardless of whether the policy had applicable Communicable Disease
 1
 2   coverage.
 3
                                          PARTIES
 4
           8.     Plaintiff KidsPark is a limited liability corporation registered in
 5
 6   California with its principal place of business in Corona, California. KidsPark
 7   primarily provides childcare and related services.
 8
           9.     Defendant Great American Insurance Company d/b/a Great
 9
10   American Insurance Group is an Ohio company with its principal place of
11   business in Cincinnati, Ohio. At all relevant times, Defendant Great American
12
     Insurance Company d/b/a Great American Insurance Group sold and issued
13
14   insurance policies in the state of California, including, without limitation,
15   KidsPark.
16
                              JURISDICTION AND VENUE
17
18         10.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §

19   1332(d) because Plaintiff, as well as other members of the Classes, and Defendant
20
     are citizens of different states, and because: (a) the Classes consist of at least 100
21
22   members; (b) the amount in controversy exceeds $5,000,000 exclusive of interest

23   and costs; and (c) no relevant exceptions apply to Plaintiff’s claim.
24
           11.    This Court has personal jurisdiction over Defendant, because a
25
26   substantial portion the alleged wrongdoing occurred in the state of California, and

27   Defendant has sufficient contacts with the state of California. Venue is proper in
28
                                 CLASS ACTION COMPLAINT
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 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 5 of 35 Page ID #:5



     this District under 28 U.S.C. § 1391(b)(3) because a substantial portion of the acts
 1
 2   and conduct giving rise to the claims occurred within the District.
 3
                               FACTUAL BACKGROUND
 4
           12.    Plaintiff paid an annual premium of $2,897.00 to Defendant, who
 5
 6   issued to Plaintiff a renewal of Policy PAC 2212066 02, for the annual period
 7   beginning September 16, 2019. Plaintiff performed all its obligations under the
 8
     Policy, including the payment of premiums. The Covered Property is 280 Teller
 9
10   Street #170, Corona, CA 92879.
11         13.    Some insurance policies cover specific and identified risks, such as
12
     tornadoes, hurricanes, or fires. However, most property policies in the United
13
14   States of America, including those sold by Defendant, are “all-risk” policies.
15   These types of policies cover all risks of loss, and only exclude narrow and
16
     specifically enumerated risks.
17
18         14.    In the Policy (the policy issued to Plaintiff), Defendant agreed to pay
19   “for direct physical loss of or damage to covered property ... caused by or
20
     resulting from a Covered Cause of Loss.” A Covered Cause of Loss is defined as
21
22   all “direct physical loss unless the loss is excluded or limited in this policy.” See
23   Exhibit A, CP 10 30 (Ed. 09/17), at A.
24
           15.    Losses due to the COVID-19 Pandemic and the California Civil
25
26   Authority Orders (defined below) are a Covered Cause of Loss under Defendant’s
27
     Policy because they constitute direct physical loss and are not otherwise excluded.
28
                                 CLASS ACTION COMPLAINT
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 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 6 of 35 Page ID #:6



           16.    In the Policy, apart from general coverage, as part of additional
 1
 2   coverages, Defendant agreed to pay for Plaintiff’s actual loss of Business Income
 3
     sustained due to the suspension of Plaintiff’s operations caused by direct physical
 4
     loss of or physical damage to property. Specifically, the policy provides:
 5
 6
 7
 8
 9
10
11   See Exhibit A, CP 73 07 (Ed. 09/07), at A. See also Exhibit A, CP 00 30 (Ed.
12
     10/12).
13
14         17.    The Policy further includes Extra Expense coverage which covers
15   “necessary expenses you incur during the ‘period of restoration’ that you would
16
     not have incurred if there had been no direct physical loss or damage to property
17
18   caused by or resulting from a Covered Cause of Loss.” See Exhibit A, CP 00 30
19   (ed. 10/12), at A.2.b.
20
           18.    The Policy also provides Extended Business Income coverage which
21
22   provides ““will pay for actual loss of Business Income you incur” after “‘the date
23   you could restore your ‘operations’ with reasonable speed...” See Exhibit A, CP
24
     00 30 (ed. 10/12), at A.5.b.(6). Extended Business Income coverage is meant to
25
26   provide coverage for lost Business Income during the time it takes a business to
27   bounce back from the suspension of its business operations once it restarts.
28
                                 CLASS ACTION COMPLAINT
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 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 7 of 35 Page ID #:7



           19.    The Policy also includes Civil Authority coverage, under which
 1
 2   Defendant agreed to pay for the actual loss of Business Income and Extra Expense
 3
     sustained when access to the scheduled premises is prohibited by order of a civil
 4
     authority as the direct result of a Covered Cause of Loss to the scheduled
 5
 6   premises. See Exhibit A, CP 00 30 (Ed. 10/12), at 5.a.
 7
           20.    The Policy also provides Communicable Disease Event coverage “in
 8
     which a ‘Public Health Authority’ has ordered that the covered location be
 9
10   evacuated, decontaminated, or disinfected due to the outbreak of a ‘communicable
11
     disease’ at such location.” See Exhibit A, CP 73 45 (Ed. 01/14), at 3.j.
12
     Communicable Disease Event Coverage provides for the loss of business income
13
14   and extra expense as the result of the “communicable disease”, which is defined as
15
     “any disease      or any related diseases, viruses, complexes, symptoms,
16
17   manifestations, effects, conditions or illnesses that can be transmitted directly or

18   indirectly from one person to another or transmitted from animal to person.” Id.
19
           21.    The Communicable Disease Event coverage is available regardless of
20
21   any applicable virus exclusion in the Policy:

22
23
24
     Id.
25
26         22.    As explained below, the COVID-19 Pandemic throughout the State
27   of California, and the related shut down orders issued by local, state, and federal
28
                                 CLASS ACTION COMPLAINT
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 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 8 of 35 Page ID #:8



     authorities constitute a Covered Cause of Loss triggering the Business Income,
 1
 2   Extra Expense, Extended Business Income, Civil Authority, and Communicable
 3
     Disease provisions of the Policy.
 4
         A. Covered Cause of Loss
 5
 6         1.        COVID-19 Pandemic
 7
           23.       On January 30, 2020, the World Health Organization (“WHO”)
 8
     declared the COVID-19 outbreak a “Public Health Emergency of International
 9
10               1
     Concern.” Later, on March 11, 2020, the WHO declared COVID-19 a global
11
     health pandemic. On March 13, 2020, President Trump declared a national
12
13   emergency in the face of a growing public health and economic crisis due to the

14   global COVID-19 Pandemic.
15
           24.       In the State of California alone, there have been over 200,461
16
                                                                           2
17   reported cases of COVID-19, and approximately 5,812 related deaths.
18
           25.       In Riverside County, in which KidsPark is located, there have been
19
     over 15,224 confirmed cases of COVID-19, and 380 deaths, which are the second-
20
21   highest totals in California.
                                     3


22
23   1
        https://www.who.int/news-room/detail/30-01-2020-statement-on-the-second-
24        meeting-of-the-international-health-regulations-(2005)-emergency-committee-
          regarding-the-outbreak-of-novel-coronavirus-(2019-ncov) (last visited June 26,
25        2020).
     2
26      https://public.tableau.com/views/COVID-19PublicDashboard/Covid-
          19Public?:embed=y&:display_count=no&:showVizHome=no (last visited June
27
          26, 2020).
     3
28     Id.
                                   CLASS ACTION COMPLAINT
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 Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 9 of 35 Page ID #:9



           26.     According to published research, the virus that causes COVID-19
 1
 2   remains stable and transmittable for up to three hours in aerosols, up to four hours
 3
     on copper, up to twenty-four hours on cardboard, and up to two to three days on
 4
                                  4
 5   plastic and stainless steel. Thus, COVID-19 can be transmitted directly or

 6   indirectly.
 7
           2.      California Civil Authority Orders
 8
 9         27.     The presence and physical spread of this deadly virus and the

10   pandemic have caused civil authorities to issue orders requiring the suspension of
11
     businesses, including civil authorities with jurisdiction over Plaintiff’s practice, to
12
13   slow down the deadly and dangerous spread of COVID-19. Nearly every state in

14   the country, including California, has or had an order restricting the operation of
15
     non-essential businesses.
16
17         28.     These California Civil Authority Orders include:
18               a. On March 4, 2020, California Governor Gavin Newsom issued an
19
                   executive order declaring a state of emergency in California as a
20
21                 result of the threat of COVID-19;
22               b. On March 19. 2020, Governor Newsom issued Executive Order N-
23
                         5
                   33-20, finding that “in a short period of time, COVID-19 has rapidly
24
25
     4
26     https://www.nih.gov/news-events/nih-research-matters/study-suggests-new-
         coronavirus-may-remain-surfaces-days (last visited June 26, 2020).
27   5
       https://www.gov.ca.gov/wp-content/uploads/2020/03/3.19.20-attested-EO-N-33-
28       20-COVID-19-HEALTH-ORDER.pdf (last visited June 26, 2020)
                               CLASS ACTION COMPLAINT
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Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 10 of 35 Page ID #:10



                       spread throughout California” and directed all Californians to “heed
 1
 2                     the current State public health directives...” including the Order of the
 3
                       State Public Health Officer dated March 19, 2020;
 4
                    c. The March 19 2020 Order of the State Public Health Officer ordered
 5
 6                     ‘all individuals living in the State of California to stay at home or at
 7
                       their place of residence except as needed to maintain continuity of
 8
                                                                                        6
 9                     operations of the federal critical infrastructure sections...”

10                  d. On April 1, 2020, Riverside County ordered all preschools to be
11
                                                                                            7
                       closed and ordered all daycares to limit children to 12 per room.
12
13            29.      The California Governor and the California State Public Health
14
     Officer are governmental authorities that have jurisdiction over Plaintiff’s
15
     operations relative to health and hygiene standards necessary for the protection of
16
17   the public.
18
              30.      As a result of COVID-19, the California Civil Authority Orders, as
19
     well as information from other sources including the California Department of
20
21   Public Health, Plaintiff ceased all of its operations on March 18, 2020 and only
22
     resumed some of its operations on June 1, 2020.
23
24
25
26
     6
         Id.
27   7
         https://www.riversideca.gov/sites/default/files/press/pdf/April%201%20-
28         _Order.pdf (last visited June 26, 2020).
                                     CLASS ACTION COMPLAINT
                                                    10
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 11 of 35 Page ID #:11



           3.      Impact of the COVID-19 Pandemic and California Civil
 1
                   Authority Orders
 2
           31.     KidsPark and the proposed Classes defined below have suffered an
 3
 4   actual loss of Business Income and are incurring Extra Expenses due to the
 5
     necessary suspension of operations.
 6
           32.     The California Civil Authority Orders (and similar civil authority
 7
 8   orders) and the COVID-19 pandemic constitute a Covered Cause of Loss, as they
 9
     constitute “direct physical loss” that is not excluded by the policy.
10
           33.     Moreover, a Covered Cause of Loss has caused damage to property
11
12   other than the described premises as well as the described premises, and was
13
     caused by the California Civil Authority Orders that prohibited access to
14
15   Plaintiff’s premises. The California Civil Authority Orders prohibited access to

16   damaged properties immediately surrounding Plaintiff’s property, and Plaintiff’s
17
     property is not more than one mile from the damaged properties. The California
18
19   Civil Authority Orders were entered in response to a dangerous physical condition

20   resulting from damage and the continuation of the Covered Cause of Loss causing
21
     the damage.
22
23         34.     Plaintiff reopened on June 1, 2020. Plaintiff has incurred expenses

24   such as purchasing masks, gloves, signage, and plexiglass in order to reopen.
25
     After reopening, Plaintiff had substantially less than its normal revenue.
26
27
28
                                  CLASS ACTION COMPLAINT
                                            11
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 12 of 35 Page ID #:12



           35.      Plaintiff’s loss in business income was not due to unfavorable
 1
 2   business conditions as its business historically experiences a substantial increase
 3
     during the summer months.
 4
           36.      Having suffered a necessary suspension of operations, Plaintiff
 5
 6   submitted a claim to Defendant under the policy. Defendant denied Plaintiff’s
 7
     claim. See Exhibit B.
 8
           37.      Defendant based this denial primarily on:
 9
10               a. The lack of “any direct physical loss or damage to property at your
                    premises”;
11
12               b. The purported applicability of exclusions related to viruses, loss of
                    market, loss due to acts or decisions of a governmental body, and
13
                    consequential loss;
14
15               c. The purported lack of “direct physical loss of or damage to other
                    property within one mile of your premises, caused by a Covered
16                  Cause of Loss, that resulted in an action of civil authority prohibiting
17                  access to your property”;

18               d. A purported absence of an “order [from a Public Health Authority] or
19                  outbreak at your location.”

20         38.      None of these purported reasons are true bases for Defendant’s denial
21
     of Plaintiff’s claim. First, as described above, in the context of COVID-19 and the
22
23   California Civil Authority Orders, there was a suspension of operations caused by

24   “physical loss or damage” caused by or resulting from” a “Covered Cause of
25
     Loss” to property at a scheduled premise. Second, none of the cited exclusions are
26
27   applicable, or unconscionably restrict coverage otherwise provided by the Policy.

28
                                   CLASS ACTION COMPLAINT
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Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 13 of 35 Page ID #:13



     Third, direct physical loss or damage to other property, including to Plaintiff’s
 1
 2   scheduled premises, occurred all over California, including Riverside County
 3
     where Plaintiff is located, which led to the California Civil Authority Orders.
 4
     Fourth, it strains credibility for Defendant to assert that it were unaware of the
 5
 6   California Civil Authority Orders implicating the Civil Authority and
 7
     Communicable Disease coverage.
 8
           39.    The “virus exclusion” excludes coverage only “for loss or damage
 9
10   caused by or resulting from any virus, bacterium or other microorganism that
11
     induces or is capable of inducing physical distress, illness or disease”, however a
12
     legal proximate cause and predominant cause of the physical loss here was not a
13
14   virus, but the California Civil Authority Orders.
15
           40.    Also, while the policy contains a virus exclusion -- the policy does
16
17   not exclude coverage for a national state of disaster like the current pandemic,

18   which is more akin to a tornado than damage from a microorganism itself. The
19
     insurance industry knows how to exclude “pandemics and epidemics” and has
20
21   done so in other contexts. Here it did not.

22         41.    However, even if the virus exclusion is applicable, then Plaintiff has
23
     Communicable Disease coverage that explicitly covers “viruses” that can be
24
25   transmitted “directly or indirectly”. A “Public Health Authority” having

26   jurisdiction over Plaintiff’s operations has ordered that its location be evacuated
27
     due to COVID-19. Communicable Disease coverage is not excluded by any virus
28
                                 CLASS ACTION COMPLAINT
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Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 14 of 35 Page ID #:14



     exclusion “[a]ny Virus or Bacteria Exclusions that may apply to Commercial
 1
 2   Property Coverage Part do not apply to this Additional Coverage.” See Exhibit A,
 3
     CP 73 45 (Ed. 01/14).
 4
           42.    The simple truth is that Defendant pre-determined its intent to deny
 5
 6   coverage for any Business Income, Extra Expense, Extended Business Income,
 7
     Civil Authority, and Communicable Disease claims related to the COVID-19
 8
     Pandemic.
 9
10         43.    Boiled to its essence, the subject matter of this case is simple.
11
     Defendant has, on a widespread and class-wide basis, refused to provide coverage
12
     related to the COVID-19 Pandemic and the resultant executive orders by civil
13
14   authorities that have required the suspension of practice no matter the language or
15
     scope of coverage in any particular insurance policy.
16
17
                                 CLASS ALLEGATIONS
18
19         44.    Plaintiff brings this action individually and on behalf of the following

20   similarly situated classes (the “Classes”) pursuant to Rule 23(a), 23(b)(1),
21
     23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure.
22
23         45.    Plaintiff seeks to represent nationwide classes defined as follows:

24
25
26
27
28
                                 CLASS ACTION COMPLAINT
                                           14
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 15 of 35 Page ID #:15



                              Business Income Breach Class
 1
 2        All persons and entities that: (a) had Business Income coverage under a
          property insurance policy issued by Defendant; (b) suffered a suspension of
 3
          their operations related to COVID-19 or the California Civil Authority
 4        Orders (or other civil authority order related to COVID-19) impacting the
          premises covered by their property insurance policy; (c) made a claim under
 5
          their property insurance policy issued by Defendant; and (d) were denied
 6        coverage by Defendant.
 7
                               Extra Expense Breach Class
 8
          All persons and entities that: (a) had Extra Expense coverage under a
 9
          property insurance policy issued by Defendant; (b) suffered a
10        Communicable Disease Event related to COVID-19 or the California Civil
          Authority Orders (or other civil authority order related to COVID-19)
11
          impacting the premises covered by their property insurance policy and
12        incurred Extra Expenses; (c) made a claim under their property insurance
          policy issued by Defendant; and (d) were denied Extra Expense coverage
13
          by Defendant.
14
15                             Civil Authority Breach Class

16        All persons and entities that: (a) had Civil Authority coverage under a
17        property insurance policy issued by Defendant; (b) suffered a loss of
          Business Income caused by an order of a civil authority that was entered in
18        response to dangerous physical conditions resulting from damage of the
19        Covered Cause of Loss, and the order of civil authority specifically
          prohibited access to the premises covered by their property insurance policy
20        as the direct result of the risks caused by the COVID-19 Pandemic to
21        property in the immediate area of the insureds covered property and not
          more than one mile from the covered premises; (c) made a claim under their
22        property insurance policy issued by Defendant; and (d) were denied Civil
23        Authority coverage by Defendant for the loss of Business Income.

24                       Extended Business Income Breach Class
25
          All persons and entities that: (a) had Extended Business Income coverage
26        under a property insurance policy issued by Defendant; (b) suffered a
27        suspension of their operations related to COVID-19 or the California Civil
          Authority Orders (or other civil authority order related to COVID-19)
28
                               CLASS ACTION COMPLAINT
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Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 16 of 35 Page ID #:16



           impacting the premises covered by their property insurance policy; (c) had a
 1
           loss of “Business Income” after reopening; (d) made a claim under their
 2         property insurance policy issued by Defendant; and (e) were denied
           Extended Business Income coverage by Defendant.
 3
 4                          Communicable Disease Breach Class
 5
           All persons and entities that: (a) had Communicable Disease coverage
 6         under a property insurance policy issued by Defendant; (b) suffered a
           Communicable Disease Event due to COVID-19 or the California Civil
 7
           Authority Orders (or other civil authority order related to COVID-19)
 8         impacting the premises covered by their property insurance policy; (d)
           made a claim under their property insurance policy issued by Defendant;
 9
           and (e) were denied Communicable Disease coverage by Defendant.
10
11
           46.    Plaintiff also seeks to represent nationwide declaratory judgment
12
     classes defined as follows:
13
14                     Business Income Declaratory Judgment Class
15
           All persons and entities with Business Income coverage under a property
16         insurance policy issued by Defendant that suffered a suspension of their
17         operations related to COVID-19 or the California Civil Authority Orders (or
           other civil authority order related to COVID-19) impacting the premises
18         covered by their property insurance policy.
19
                        Extra Expense Declaratory Judgment Class
20
21         All persons and entities with Extra Expense coverage under a property
           insurance policy issued by Defendant that incurred extra expenses related to
22         COVID-19 or the California Civil Authority Orders (or other civil authority
23         order related to COVID-19) impacting the premises covered by their
           property insurance policy.
24
25                      Civil Authority Declaratory Judgment Class

26         All persons and entities with Civil Authority coverage under a property
27         insurance policy issued by Defendant that suffered a loss of Business
           Income caused by an order of a civil authority that was entered in response
28
                                   CLASS ACTION COMPLAINT
                                             16
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 17 of 35 Page ID #:17



             to dangerous physical conditions resulting from damage of the Covered
 1
             Cause of Loss, and the order of civil authority specifically prohibited access
 2           to the premises covered by their property insurance policy as the direct
             result of the risks caused by the COVID-19 Pandemic to property in the
 3
             immediate area of the insureds covered property and not more than one mile
 4           from the covered premises.
 5
                      Extended Business Income Declaratory Judgment Class
 6
             All persons and entities with Extended Business Income coverage under a
 7
             property insurance policy issued by Defendant that suffered a suspension of
 8           their operations related to COVID-19 or the California Civil Authority
             Orders (or other civil authority order related to COVID-19) impacting the
 9
             premises covered by their property insurance policy and suffered a loss of
10           Business Income after reopening.
                                                8


11
                      Communicable Disease Declaratory Judgment Class
12
13           All persons and entities that: (a) had Communicable Disease coverage
             under a property insurance policy issued by Defendant; (b) suffered a
14           Communicable Disease Event due to COVID-19 or the California Civil
15           Authority Orders (or other civil authority order related to COVID-19)
             impacting the premises covered by their property insurance policy.
16
17
             47.    Excluded from the proposed Classes are Defendant, any parent
18
19   companies, subsidiaries, affiliates, officers, directors, legal representatives,
20   employees, co-conspirators, all governmental entities, and any judge, justice, or
21
     judicial officer presiding over this matter, as well as members of their staff and
22
23   immediate families. Plaintiff reserves the right to amend the Class definitions
24   above or add appropriate subclasses following discovery. Also excluded from the
25
26
27   8
         The five Declaratory Judgment Classes together will be referred to as the
28        “Declaratory Judgment Classes.”
                                  CLASS ACTION COMPLAINT
                                             17
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 18 of 35 Page ID #:18



     Classes are insureds that have not complied with applicable provisions of their
 1
 2   policies, such as the payment of premiums.
 3
           48.      This action is brought and may be properly maintained as a class
 4
     action. There is a well-defined community of interests in this litigation and the
 5
 6   members of the Classes are easily ascertainable.
 7
           49.      The members in the proposed Classes are so numerous that
 8
     individual joinder of all members is impracticable, and the disposition of the
 9
10   claims of the members of the Classes in a single action will provide substantial
11
     benefits to the parties and the Court.
12
           50.      This action involves common questions, which predominate over
13
14   questions affecting individual members of the Classes, including (without
15
     limitation):
16
17               • whether members of the Classes suffered a covered cause of loss
                   based on the common policies issued by Defendant;
18
19               • whether the COVID-19 Pandemic (and/or an order of a civil
                   authority related to the COVID-19 Pandemic) constitutes a Covered
20                 Cause of Loss;
21
                 • whether Defendant’s Business Income coverage applies to a
22                 suspension of business operations caused by the COVID-19
23                 Pandemic (and/or by an order of a civil authority related to the
                   COVID-19 Pandemic);
24
25               • whether a suspension of business operations caused by the COVID-
                   19 Pandemic (and/or by an order of a civil authority related to the
26
                   COVID-19 Pandemic) qualifies as a suspension of business
27                 operations caused by direct physical loss of or physical damage to
                   property;
28
                                  CLASS ACTION COMPLAINT
                                            18
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 19 of 35 Page ID #:19




 1
                 • whether the “virus” exclusion precludes losses related to the COVID-
 2                 19 Pandemic;
 3
                 • whether the COVID-19 Pandemic qualifies as a Communicable
 4                 Disease Event;
 5
                 • whether an order by a civil authority related to the COVID-19
 6                 Pandemic qualifies an insured for Civil Authority coverage;
 7
                 • whether expenses incurred caused by or related to COVID-19 qualify
 8                 as Extra Expenses;
 9
                 • whether members of the Classes sustained damages as a result of
10                 Defendant denying their claims made under the common policies;
11                 and
12
                 • whether Defendant breached its contracts of insurance by denying
13                 Class members’ Business Income and Civil Authority claims related
                   to the COVID-19 Pandemic.
14
15         51.      Defendant engaged in a course of common conduct that gave rise to
16
     the legal rights sought to be enforced by Plaintiff individually and on behalf of the
17
     other members of the Classes. Identical business practices and harms are involved.
18
19   Individual questions, if any, are not prevalent in comparison to the numerous
20
     common questions that dominate this action.
21
           52.      Plaintiff’s claims are typical of those of the members of the Classes
22
23   because they are based on the same underlying facts, events, and circumstances
24
     relating to Defendant’s conduct, including the systematic denial of insurance
25
     coverage related to Business Income and Extra Expense insurance and the
26
27
28
                                  CLASS ACTION COMPLAINT
                                            19
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 20 of 35 Page ID #:20



     COVID-19 Pandemic and/or an order of civil authority related to the COVID-19
 1
 2   Pandemic.
 3
           53.    Plaintiff will fairly and adequately represent and protect the interests
 4
     of the Classes, has no interests incompatible with the interests of the Class
 5
 6   members, and has retained counsel competent and experienced in class action and
 7
     consumer protection litigation.
 8
           54.    Class treatment is superior to other options for resolution of the
 9
10   controversy because the relief sought for each member of the Classes is small
11
     enough such that, absent representative litigation, it would be infeasible for many
12
     members of the Classes to redress the wrongs done to them. Moreover,
13
14   individualized litigation would create potential for inconsistent judgments on
15
     identical issues and increase the delay and expense to the parties and the Court.
16
17   By contrast, the class action device presents far fewer management difficulties,

18   and provides the benefits of adjudication by a single court.
19
           55.    As a result of the foregoing, class treatment under Federal Rule of
20
21   Civil Procedure 23(b)(3) is appropriate.

22         56.    Class treatment is also appropriate under Federal Rule of Civil
23
     Procedure 23(b)(1). Plaintiff seeks class-wide adjudication related to Defendant’s
24
25   Business Income, and Civil Authority coverages. The prosecution of separate

26   actions by individual members of the Classes would create a risk of inconsistent
27
     adjudications.
28
                                 CLASS ACTION COMPLAINT
                                           20
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 21 of 35 Page ID #:21



           57.    Class treatment is also appropriate under Federal Rule of Civil
 1
 2   Procedure 23(b)(2). Defendant acted or refused to act on grounds generally
 3
     applicable to Plaintiff and the other members of the Classes, thereby making
 4
     appropriate final injunctive and declaratory relief.
 5
 6
                                  CLAIMS FOR RELIEF
 7
 8       CLAIM I: BREACH OF CONTRACT - Business Income Coverage
      (Plaintiff Individually and on Behalf of the Business Income Breach Class)
 9
10         58.    Plaintiff hereby realleges and incorporates by reference all
11
     allegations raised in the preceding paragraphs as if fully stated herein.
12
           59.    Plaintiff brings this claim against Defendant individually and on
13
14   behalf of the members of the Business Income Breach Class.
15
           60.    Plaintiff’s insurance policy, as well as those of the members of the
16
17   Business Income Breach Class, are contracts under which premiums were paid to

18   Defendant in exchange for promises to pay Plaintiff and the Business Income
19
     Breach Class Members’ losses for claims covered by Defendant’s all-risk policy.
20
21         61.    The Policy states that Defendant “will pay for the actual loss of

22   Business Income you sustain due to the necessary suspension of your ‘operations’
23
     during the ‘period of restoration.’ The suspension must be caused by direct
24
25   physical loss    of or physical damage           to    property   at the    ‘described

26   premises’…caused by or resulting from a Covered Cause of Loss.”
27
           62.    “Operations” is defined as “business activities occurring at the
28
                                  CLASS ACTION COMPLAINT
                                            21
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 22 of 35 Page ID #:22



     ‘described premises’ and tenantability of the ‘described premises.’”
 1
 2         63.    Suspension is defined (in relevant part) as “The slowdown or
 3
     cessation of your business activities[.]”
 4
           64.     “Business Income” is defined as “Net Income (Net Profit or Loss
 5
 6   before income taxes) that would have been earned or incurred” and “continuing
 7
     normal operating expenses incurred, including payroll.”
 8
           65.    The COVID-19 Pandemic, and/or orders of civil authority related to
 9
10   the COVID-19 Pandemic (like the California Civil Authority Orders) caused
11
     “direct physical loss or damage” to the “Covered Property” under the Plaintiff’s
12
     policy, and the policies of the other Business Income Breach Class members, by
13
14   denying use of and damaging the Covered Property, and by causing a necessary
15
     suspension and reduction of operations during a period of restoration.
16
17         66.    Losses caused by the COVID-19 Pandemic, and/or orders of civil

18   authority related to the COVID-19 Pandemic (like the California Civil Authority
19
     Orders) thus triggered the Business Income provision of Plaintiff’s and the other
20
21   members of the Business Income Breach Class’ insurance policies.

22         67.    Plaintiff and the members of the Business Income Breach Class have
23
     complied with all applicable provisions of their policies.
24
25         68.    Plaintiff and the members of the Business Income Breach Class made

26   timely claims under their property insurance policies issued by Defendant.
27
           69.    Defendant has breached its coverage obligations under Plaintiff and
28
                                  CLASS ACTION COMPLAINT
                                            22
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 23 of 35 Page ID #:23



     the Business Income Breach Class Members’ policies by denying coverage for
 1
 2   any Business Income losses incurred in connection with the COVID-19 and/or
 3
     orders of civil authority related to COVID-19 (like the California Civil Authority
 4
     Orders).
 5
 6         70.    As a direct and proximate result of Defendant’s breaches, Plaintiff
 7
     and the members of the Business Income Breach Class have sustained damages
 8
     for which Defendant is liable, in an amount to be established at trial.
 9
10        CLAIM II: BREACH OF CONTRACT – Extra Expense Coverage
       (Plaintiff Individually and on Behalf of the Extra Expense Breach Class)
11
12         71.    Plaintiff hereby realleges and incorporates by reference all
13
     allegations raised in the preceding paragraphs as if fully stated herein.
14
15         72.    Plaintiff brings this claim against Defendant individually and on

16   behalf of the members of the Extra Expense Breach Class.
17
           73.    Plaintiff’s insurance policy, as well as those of the members of the
18
19   Extra Expense Breach Class, are contracts under which premiums were paid to

20   Defendant in exchange for promises to pay Plaintiff and the Extra Expense Breach
21
     Class Members’ losses for claims covered by Defendant’s all-risk policy.
22
23         74.    The Policy states that Defendant’s “will pay necessary expenses you

24   incur during the ‘period of restoration’ that you would not have incurred if there
25
     had been no direct physical loss or damage to property caused by or resulting from
26
27   a Covered Cause of Loss.”

28
                                  CLASS ACTION COMPLAINT
                                            23
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 24 of 35 Page ID #:24



           75.    COVID-19, and/or orders of civil authority related to COVID-19
 1
 2   (like the California Civil Authority Orders) caused “direct loss” to the “Covered
 3
     Property” under the Plaintiff’s policy, and the policies of the other Extra Expense
 4
     Breach Class members, by denying use of and damaging the Covered Property,
 5
 6   and by causing Plaintiff and other Extra Expense Breach Class members to incur
 7
     necessary expenses they would not have incurred had there been in the absence of
 8
     COVID-19 or the California Civil Authority Orders.
 9
10         76.    Losses caused by COVID-19, and/or orders of civil authority related
11
     to COVID-19 (like the California Civil Authority Orders) thus triggered the Extra
12
     Expense provision of Plaintiff’s and the other members of the Extra Expense
13
14   Breach Class’ insurance policies.
15
           77.    Plaintiff and the members of the Extra Expense Breach Class have
16
17   complied with all applicable provisions of their policies.

18         78.    Plaintiff and the members of the Extra Expense Breach Class made
19
     timely claims under their property insurance policies issued by Defendant.
20
21         79.    Defendant has breached its coverage obligations under Plaintiff and

22   the Extra Expense Breach Class Members’ policies by denying coverage for any
23
     Extra Expenses incurred in connection with the COVID-19 and/or orders of civil
24
25   authority related to COVID-19 (like the California Civil Authority Orders).

26         80.    As a direct and proximate result of Defendant’s breaches, Plaintiff
27
     and the members of the Extra Expense Breach Class have sustained damages for
28
                                 CLASS ACTION COMPLAINT
                                           24
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 25 of 35 Page ID #:25



     which Defendant is liable, in an amount to be established at trial.
 1
 2         CLAIM III: BREACH OF CONTRACT – Civil Authority Coverage
 3
         (Plaintiff Individually and on Behalf of the Civil Authority Breach Class)
 4
           81.    Plaintiff hereby realleges and incorporates by reference all
 5
 6   allegations raised in the preceding paragraphs as if fully stated herein.
 7
           82.    Plaintiff brings this claim against Defendant individually and on
 8
     behalf of the members of the Civil Authority Breach Class.
 9
10         83.    Plaintiff’s policy, as well as those of the members of the Civil
11
     Authority Breach Class, are contracts under which premiums were paid to
12
     Defendant in exchange for promises to pay Plaintiff and the Civil Authority
13
14   Breach Class Members’ losses for claims covered by the policy.
15
           84.    Plaintiff’s policy, as well as those of the members of the Civil
16
17   Authority Breach Class are extended to apply to losses sustained “caused by

18   action of civil authority that prohibits access to the described premises” when
19
     “access to the area immediately surrounding the damaged property by civil
20
21   authority as a result of the damage, and the described premises are within that area

22   but are not more than one mile from the damaged property” and “the action of
23
     civil authority is taken in response to dangerous physical conditions resulting from
24
25   the damage or continuation of the Covered Cause of Loss that caused the

26   damage...”
27
           85.    The COVID-19 Pandemic caused civil authorities to issue the
28
                                  CLASS ACTION COMPLAINT
                                            25
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 26 of 35 Page ID #:26



     California Civil Authority Orders, which specifically prohibited access the area
 1
 2   immediately surrounding the damaged property as a result of the damage, and the
 3
     California Civil Authority Orders are both within the area defined as well as no
 4
     more than one mile from the damaged property. The California Civil Authority
 5
 6   Orders were entered in response to COVID-19, which is a dangerous physical
 7
     condition, and result from the damage or continuation of the direct physical
 8
     damage that caused the damage.
 9
10         86.    Losses caused by the COVID-19 Pandemic thus triggered the Civil
11
     Authority provision of Plaintiff and the Civil Authority Breach Class Members’
12
     insurance policies.
13
14         87.    Plaintiff and the Civil Authority Breach Class Members have
15
     complied with all applicable provisions of their policies.
16
17         88.    Plaintiff and the Civil Authority Breach Class Members made timely

18   claims under their property insurance policies issued by Defendant.
19
           89.    Defendant has breached its coverage obligations under Plaintiff and
20
21   the Civil Authority Breach Class Members’ policies by denying coverage for any

22   Civil Authority losses incurred in connection with the COVID-19 Pandemic
23
     and/or orders of civil authority related to the COVID-19 Pandemic (like the
24
25   California Civil Authority Orders).

26         90.    As a direct and proximate result of Defendant’s breaches, Plaintiff
27
     and the Civil Authority Breach Class Members have sustained damages for which
28
                                 CLASS ACTION COMPLAINT
                                           26
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 27 of 35 Page ID #:27



     Defendant is liable, in an amount to be established at trial.
 1
 2
                        CLAIM IV: BREACH OF CONTRACT –
 3
                          Extended Business Income Coverage
 4                (Plaintiff Individually and on Behalf of the Extended
 5                            Business Income Breach Class)
 6         91.    Plaintiff hereby realleges and incorporates by reference all
 7
     allegations raised in the preceding paragraphs as if fully stated herein.
 8
 9         92.    Plaintiff brings this claim against Defendant individually and on
10   behalf of the members of the Extended Business Income Breach Class.
11
           93.    Plaintiff’s insurance policy, as well as those of the members of the
12
13   Extended Business Income Breach Class, are contracts under which premiums
14
     were paid to Defendant in exchange for promises to pay Plaintiff and the
15
     Extended Business Income Breach Class Members’ losses for claims covered by
16
17   Defendant’s all-risk policy.
18
           94.    The Policy states that “[i]f the necessary ‘suspension’ of your
19
     ‘operations’ produces a Business Income loss payable under this Policy, we will
20
21   pay for the actual loss of Business Income you incur...”
22
           95.    Losses caused by COVID-19, and/or orders of civil authority related
23
     to COVID-19 (like the California Civil Authority Orders) thus triggered the
24
25   Extended Business Income provision of Plaintiff’s and the other members of the
26
     Business Income Breach Class’ insurance policies.
27
28         96.    Plaintiff and the members of the Extended Business Income Breach
                                    CLASS ACTION COMPLAINT
                                              27
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 28 of 35 Page ID #:28



     Class have complied with all applicable provisions of their policies. Plaintiff and
 1
 2   the members of the Extended Business Income Breach Class made timely claims
 3
     under their property insurance policies issued by Defendant.
 4
           97.    Defendant has breached its coverage obligations under Plaintiff and
 5
 6   the Extended Business Income Breach Class Members’ policies by denying
 7
     coverage for any Extended Business Income losses incurred in connection with
 8
     the COVID-19 and/or orders of civil authority related to COVID-19 (like the
 9
10   California Civil Authority Orders).
11
           98.    As a direct and proximate result of Defendant’s breaches, Plaintiff
12
     and the members of the Extended Business Income Breach Class have sustained
13
14   damages for which Defendant is liable, in an amount to be established at trial.
15
      CLAIM V: BREACH OF CONTRACT – Communicable Disease Coverage
16                 (Plaintiff Individually and on Behalf of the
17                   Communicable Disease Breach Class)

18         99.    Plaintiff hereby realleges and incorporates by reference all
19
     allegations raised in the preceding paragraphs as if fully stated herein.
20
21         100. Plaintiff brings this claim against Defendant individually and on

22   behalf of the members of the Communicable Disease Breach Class.
23
           101. Plaintiff’s policy, as well as those of the members of the
24
25   Communicable Disease Breach Class, are contracts under which premiums were

26   paid to Defendant in exchange for promises to pay Plaintiff and the
27
     Communicable Breach Class Members’ losses for claims covered by the policy.
28
                                  CLASS ACTION COMPLAINT
                                            28
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 29 of 35 Page ID #:29



           102. Plaintiff’s policy, as well as those of the members of the
 1
 2   Communicable Class are extended to apply to losses sustained due to
 3
     “Communicable Disease Events.”
 4
           103. The COVID-19 Pandemic and civil authority orders were
 5
 6   Communicable Disease Events as defined by the policy.
 7
           104. Plaintiff and the Communicable Disease Breach Class Members have
 8
     complied with all applicable provisions of their policies.
 9
10         105. Plaintiff and the Communicable Disease Breach Class Members
11
     made timely claims under their property insurance policies issued by Defendant.
12
           106. Defendant has breached its coverage obligations under Plaintiff and
13
14   the Communicable Disease Breach Class Members’ policies by denying coverage
15
     for any Communicable Disease losses incurred in connection with the COVID-19
16
17   Pandemic and/or orders of civil authority related to the COVID-19 Pandemic (like

18   the California Civil Authority Orders).
19
           107. As a direct and proximate result of Defendant’s breaches, Plaintiff
20
21   and the Communicable Disease Breach Class Members have sustained damages

22   for which Defendant is liable, in an amount to be established at trial.
23
                    CLAIM VI: DECLARATORY JUDGMENT
24          (Claim Brought on Behalf of the Declaratory Judgment Classes)
25
           108. Plaintiff hereby realleges and incorporates by reference all
26
27   allegations raised in the preceding paragraphs as if fully stated herein.

28
                                  CLASS ACTION COMPLAINT
                                            29
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 30 of 35 Page ID #:30



           109. Plaintiff brings this claim against Defendant individually and on
 1
 2   behalf of the members of the Declaratory Judgment Classes.
 3
           110. Plaintiff’s policy, as well as those of the members of the Declaratory
 4
     Judgment Classes, are contracts under which premiums were paid to Defendant in
 5
 6   exchange for promises to pay losses for claims covered by their insurance
 7
     policies.
 8
           111. Plaintiff and the members of the Declaratory Judgment Classes have
 9
10   complied with all applicable provisions of the policies.
11
           112. Defendant has denied claims related COVID-19 and/or orders of civil
12
     authority related to COVID-19 (like the California Civil Authority Orders) on a
13
14   uniform and class wide basis, without individual bases or investigations, such that
15
     the Court can render declaratory judgment irrespective of whether members of the
16
17   Declaratory Judgment Classes have filed a claim.

18         113. An actual case or controversy exists regarding Plaintiff and the
19
     Declaratory Judgment Class Members’ rights and Defendant’s obligations under
20
21   the policies to provide reimbursements for the full amount of losses incurred by

22   Plaintiff and the Declaratory Judgment Classes Members in connection with the
23
     COVID-19 and/or orders of civil authority related to COVID-19 (like the
24
25   California Civil Authority Orders).

26         114. Pursuant to 28 U.S.C. § 2201, Plaintiff and the Business Income
27
     Declaratory Judgment Class Members seek a declaratory judgment from this
28
                                 CLASS ACTION COMPLAINT
                                           30
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 31 of 35 Page ID #:31



     Court declaring the following:
 1
 2                a. Plaintiff and the Business Income Declaratory Judgment Class
                     Members’ Business Income losses incurred in connection with
 3
                     necessary interruption of their businesses due to the presence of
 4                   the COVID-19 Pandemic and/or orders of civil authority related to
                     the COVID-19 Pandemic (like the California Civil Authority
 5
                     Orders) are insured losses under their policies; and
 6
                  b. Defendant is obligated to pay Plaintiff and the Business Income
 7
                     Declaratory Judgment Class Members for the full amount of the
 8                   Business Income losses incurred and to be incurred in connection
                     with the period of restoration and the necessary interruption of
 9
                     their businesses stemming from the presence of COVID-19 and/or
10                   orders of civil authority related to COVID-19 (like the California
                     Civil Authority Orders).
11
12         115. Pursuant to 28 U.S.C. § 2201, Plaintiff and the Extra Expense
13
     Declaratory Judgment Class Members seek a declaratory judgment from this
14
15   Court declaring the following:

16                a. Plaintiff and the Extra Expense Declaratory Judgment Class
17                   Members’ Extra Expense losses incurred in connection with
                     necessary interruption of their businesses due to the presence of
18                   the COVID-19 Pandemic and/or orders of civil authority related to
19                   the COVID-19 Pandemic (like the California Civil Authority
                     Orders) are insured losses under their policies; and
20
21                b. Defendant is obligated to pay Plaintiff and the Extra Expense
                     Declaratory Judgment Class Members for the full amount of the
22                   Extra Expense losses incurred and to be incurred in connection
23                   with the period of restoration and the necessary interruption of
                     their businesses stemming from the presence of COVID-19 and/or
24                   orders of civil authority related to COVID-19 (like the California
25                   Civil Authority Orders).

26         116.   Pursuant to 28 U.S.C. § 2201, Plaintiff and the Civil Authority
27
     Declaratory Judgment Class Members seek a declaratory judgment from this
28
                                CLASS ACTION COMPLAINT
                                          31
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 32 of 35 Page ID #:32



     Court declaring the following:
 1
 2               a. Plaintiff and the Civil Authority Declaratory Judgment Class
                    Members’ Business Income losses incurred in connection with
 3
                    necessary interruption of their businesses due to the presence of
 4                  the COVID-19 Pandemic and/or orders of civil authority related to
                    the COVID-19 Pandemic (like the California Civil Authority
 5
                    Orders) are insured losses under their policies; and
 6
                 b. Defendant is obligated to pay Plaintiff and the Civil Authority
 7
                    Declaratory Judgment Class Members for the full amount of the
 8                  Business Income losses incurred and to be incurred in connection
                    with the period of restoration and the necessary interruption of
 9
                    their businesses stemming from the presence of COVID-19 and/or
10                  orders of civil authority related to COVID-19 (like the California
                    Civil Authority Orders)
11
12         117. Pursuant to 28 U.S.C. § 2201, Plaintiff and the Extended Business
13
              Income Declaratory Judgment Class Members seek a declaratory
14
15            judgment from this Court declaring the following:

16               a. Plaintiff and the Extended Business Income Declaratory Judgment
17                  Class Members’ Extended Business Income losses incurred in
                    connection with necessary interruption of their businesses due to
18                  the presence of the COVID-19 Pandemic and/or orders of civil
19                  authority related to the COVID-19 Pandemic (like the California
                    Civil Authority Orders) are insured losses under their policies; and
20
21               b. Defendant is obligated to pay Plaintiff and the Extended Business
                    Income Declaratory Judgment Class Members for the full amount
22                  of the Extended Business Income losses incurred and to be
23                  incurred in connection with the period of restoration and the
                    necessary interruption of their businesses stemming from the
24                  presence of COVID-19 and/or orders of civil authority related to
25                  COVID-19 (like the California Civil Authority Orders).

26         118. Pursuant to 28 U.S.C. § 2201, Plaintiff and the Civil Authority
27
     Declaratory Judgment Class Members seek a declaratory judgment from this
28
                                CLASS ACTION COMPLAINT
                                          32
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 33 of 35 Page ID #:33



     Court declaring the following:
 1
 2                a. Plaintiff and the Communicable Disease Declaratory Judgment
                     Class Members’ Business Income losses incurred in connection
 3
                     with necessary interruption of their businesses due to the presence
 4                   of the COVID-19 Pandemic and/or orders of civil authority
                     related to the COVID-19 Pandemic (like the California Civil
 5
                     Authority Orders) are insured losses under their policies; and
 6
                  b. Defendant is obligated to pay Plaintiff and Communicable
 7
                     Disease Class Members for the full amount of the Business
 8                   Income losses incurred and to be incurred in connection with the
                     period of restoration and the necessary interruption of their
 9
                     businesses stemming from the presence of COVID-19 and/or
10                   orders of civil authority related to COVID-19 (like the California
                     Civil Authority Orders)
11
12
                                REQUEST FOR RELIEF
13
14         WHEREFORE, Plaintiff, individually and on behalf of the Classes,
15   respectfully requests that the Court enter judgment against Defendant as follows:
16
           i.     Entering an order certifying each of the proposed Classes;
17
18         ii.    Entering an order designating Plaintiff as Class Representative, and
                  appointing Plaintiff’s undersigned attorneys as Counsel for the
19                Classes;
20
           iii.   Entering judgment on Counts I, II, III, IV, and in favor of Plaintiff,
21                the Business Income Breach Class, the Extra Expense Breach Class,
22                the Civil Authority Breach Class, the Extended Business Income
                  Breach Class, and the Communicable Disease Breach Class, and
23                awarding damages for breach of contract in an amount to be
24                determined at trial;
25         iv.    Entering declaratory judgments on Count VI in favor of Plaintiff and
26                the Declaratory Judgment Classes (as set forth in Count VI);
27
           v.     Ordering Defendant to pay both pre- and post-judgment interest on
28                any amounts awarded;
                               CLASS ACTION COMPLAINT
                                           33
Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 34 of 35 Page ID #:34




 1
          vi.    Ordering Defendant to pay reasonable attorneys’ fees and costs of
 2               suit; and
 3
          vii.   Ordering such other and further relief as may be just and proper.
 4
 5
                                    JURY DEMAND
 6
          Plaintiff hereby demands a trial by jury on all claims so triable.
 7
 8                                                GREG COLEMAN LAW PC
 9
     Date: June 26, 2020                          /s/Alex R. Straus
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26
27
28
                                CLASS ACTION COMPLAINT
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Case 5:20-cv-01294-DMG-SP Document 1 Filed 06/26/20 Page 35 of 35 Page ID #:35




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